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                                         EXHIBIT 9
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                                                Law Finance Group                Toll Free: 800-572-1986
                                                591 Redwood Highway, Ste 1200    Phone: 415-446-2300
                                                Mill Valley                      Fax: 415-446-2301
                                                CA 94941
                                                                                 www.lawfinance.com



February 6, 2018

VIA EMAIL AND FEDEX

Infinity Capital Management
Attn: Anne Pantelas and Oliver Hemmers
1700 W. Horizon Ridge Parkway, Suite 206
Henderson, NV 89012

Re:       Notice of default

Dear Ms. Pantelas and Mr. Hemmers,

The purpose of this letter is to inform you that Infinity Capital Management (“Infinity”) is in default of
the Loan Agreement made with Law Finance Group, LLC (“LFG”) dated January 30, 2017, as amended by
Amendment No. 1 dated July 31, 2017 and Amendment No. 2 dated October 26, 2017 (collectively the
“Agreement”). The default is based on the following events:

      •   On or about December 1, 2017, Infinity used proceeds of the Loan to fund the purchase
          receivables owned by Perimeter Orthopedics. These receivables did not qualify as Authorized
          Medical Receivables and LFG had expressly declined to make them Approved Assets under the
          Agreement. Purchase of these receivables violated Sections 5.3 and 7.11 of the Agreement
          which require Borrower to use the proceeds of the Loan to fund Borrower’s origination of
          Approved Assets, and pay any fees due to the Lender and not for any other purpose.

      •   During the month of December 2017, Infinity received Approved Asset Proceeds but did not
          make mandatory payment to LFG within three Business Days as is required by Section 2.6(a) of
          the Agreement.

Both the above actions by Infinity are Events of Default as defined by Section 8 of the Agreement. LFG
reserves all of its rights and remedies under the Agreement, and as stated in Section 11.4 any delay by
LFG in exercising these remedies will not operate as a waiver or acquiescence in any default by Infinity.

If you have any questions or wish to discuss this further, please feel free to contact me.

Sincerely yours,



Dan Bush
Chief Investment Officer and Legal Counsel




                                                                    A FUNDING PROVIDER WITH LEGAL DNA
